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° In re
61 MERIDIAN HEALTH CARE MANAGEMENT
7 || INC.
g Debtor(s)
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DAVID R. HAGEN, Chapter 7 Trustee
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Plaintiff(s)
lly sv.
12 || NAUTIC PARTNERS, LLC., CHISHOLM
PARTNERS IV, L.P., FLEET VENTURE
13] RESOURCES, INC., FLEET EQUITY
PARTNERS VI, L.P. KENNEDY PLAZA
14|| PARTNERS, II, LLC., SCOTT HILINSKI,
BRIAN SATO, MICHAEL ALPER, E4E,
15|| INCORPORATED, FAMILY/SENIORS
MEDICAL GROUP, NORTHRIDGE MEDICAL
16 || GROUP, INC.
17 Defendant(s)
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NITED STATES BANKRUPTCY COL
CENTRAL DISTRICT OF CALIFORN
SAN FERNANDO VALLEY DIVISION

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FILED

Case No. SV06-10733GM
Adversary No. $V07-01186GM
Chapter 7

SUMMARY JUDGMENT IN FAVOR OF
DEFENDANT SCOTT HILINSKI AS TO
THE COMPLAINT BROUGHT BY DAVID
R. HAGEN, CHAPTER 7 TRUSTEE

DATE: JANUARY 7, 2009
TIME: 10:00 A.M.

PLACE: COURTROOM 303
21041 BURBANK BLVD.
WOODLAND HILLS, CA 91367

Defendant Scott Hilinski filed a motion for summary judgment concerning the complaint brought
against him by David R. Hagen, Chapter 7 Trustee in the above adversary proceeding. The matter was heard
on Wednesday January 7, 2009 by the Honorable Geraldine Mund. Attorney Richard Burstein and Barak
Vaughn appeared for plaintiff Chapter 7 Trustee David R. Hagen, who was also present in Court. Attorney
John Rubiner, Jonathan Kotlier and Sarah Kelly appeared for defendant movant Scott Hilinski. Attorney
Gary Tokumori appeared for defendant Michael Alper. Attorney Uzzell S. Branson III appeared for
Family/Seniors Medica! Group and Northridge Medical Group Inc. Attorney Joshua Briones and Mark

Nadeau appeared for Nautic Partners LLC.

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Prior to the hearing the Court had prepared and disseminated its written tentative ruling, which it
is placing on the adversary case docket. After argument, the Court adopted its tentative ruling as a
memorandum of points and authorities and as supplemented by certain clarifications made on the record
at the hearing.

For the reasons stated therein, judgment is hereby GRANTED to defendant Scott Hilinski
concerning the complaint against him by plaintiff David R. Hagen, Chapter 7 Trustee. This does not affect
the cross-claim filed against him in this adversary action by Family/Seniors Medical Group and Northridge

Medical Group Inc.

DATE: ‘/2/¢9 we ee
GERALDINE MUND
United States Bankruptcy Judge

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I, PATTY FLORES GARCIA
States Bankruptcy Court for the Central District

opposite their respective names, a copy of the

States mailbox in the City of Los Angeles, in sai

Richard Burstein

Ezra Brutzkus Gubner LLP
21650 Oxnard St Ste 500
Woodland Hills, CA 91367

Uzzell S. Branson III
225 South Lake, Suite 1400
Pasadena, CA 91101

John Rubiner
1875 Century Park East, 23 Floor
Los Angeles, CA 90067-2561

Mark Nadeau
2415 East Camelback Road, Suite 700
Phoenix, Arizona 85016-4245

David R Hagen - Plaintiff

6400 Canoga Ave, #311
Woodland Hills, CA 91367-2498

U.S. Trustee - email

1/09/09 Entered 01/09/09 14:01:28 Desc
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CERTIFICATE OF MAILING

, aregularly appointed and qualified clerk of the United

of California, do hereby certify that in the performance

of my duties as such clerk, I personally mailed to each of the parties listed below, at the addresses set

SUMMARY JUDGMENT IN FAVOR OF DEFENDANT SCOTT HILINSKI AS TO THE
COMPLAINT BROUGHT BY DAVID R. HAGEN, CHAPTER 7 TRUSTEE

in the within matter. That said envelope containing said copy was deposited by me in a regular United

d District, on

Jonathan Kotther

Sarah Kelly

155 Seaport Blvd.
Boston, MA 02210-2604

Gary Tokumori
2029 Century Park East 21* Floor
Los Angeles, CA 90067

Joshua Briones
1999 Avenue of the Stars, Suite 400
Los Angeles, CA 90067-6023

Peter C Bronson
400 Capitol Mall 11th Fl
Sacramento, CA 95814

Hath Aldwe (at

(Clerk}

